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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
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 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
 99                                 SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           APPLICATION OF CHAPTER 11
                                                       DEBTORS AND DEBTORS IN
15
15                                                     POSSESSION TO EMPLOY KROLL,
      FITNESS ANYWHERE LLC, a Delaware                 SECURITIES, LLC AS INVESTMENT
16    limited liability company, dba TRX and TRX       BANKER PURSUANT TO 11 U.S.C. §
16
      Training,                                        327(a); DECLARATION OF JOSHUA
17
17                                                     BENN IN SUPPORT THEREOF
              Debtor and Debtor in Possession.
18
18    ____________________________________
19
19                                                     [No hearing required unless requested
20        Affects both Debtors                         – L.B.R. 2014-1(b)]
20
21
21       Affects TRX Holdco, LLC only

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22        Affects Fitness Anywhere, LLC only
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 11   TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 22   JUDGE:

 33          TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and TRX Training

 44   (“Product Co” and together with Hold Co and Product Co, collectively, the “Debtors”), the debtors

 55   and debtors-in-possession in the above-captioned, jointly-administered Chapter 11 bankruptcy

 66   cases, respectfully submits this Application to employ Kroll Securities, LLC (“Kroll”) as the

 77   Debtors’ exclusive investment banker, pursuant to 11 U.S.C. § 327 and 328, effective as of June

 88   8, 2022, the date of the filing of the Debtors’ bankruptcy cases, upon the terms and conditions set

 99   forth in the engagement letter (the “Retention Agreement”) between the Debtors and Kroll and as
10
10    modified herein and described below. A copy of the Retention Agreement is attached as Exhibit
11
11    1 to the Declaration of Joshua Benn annexed hereto (the “Benn Declaration”).
12
12                                                    I.
13
13                                        CASE BACKGROUND
14
14           On June 8, 2022, the Debtors each filed a voluntary petition for relief under Chapter 11 of
15
15    the Bankruptcy Code. Since the Petition Date, the Debtors have operated their businesses and
16
16    managed their affairs as debtors in possession pursuant to Sections 1107 and 1108 of the
17
17    Bankruptcy Code.
18
18           The Debtors and their respective subsidiaries (collectively referred to herein as “TRX”)
19
19    comprise a world leading functional fitness company. Since being founded in 2004, TRX has
20
20    evolved into a digitally-enabled, vertically integrated, omni-channel fitness lifestyle brand with
21
21    global reach powered by a large community of consumer and trainer enthusiasts. TRX’s flagship
22
22    and patented product - Suspension Trainer™ - is a highly versatile, portable, compact and
23
23    affordable fitness and training device/workout tool with broad reach across demographic groups
24
24    and fitness levels, which can be utilized effectively across fitness modalities. TRX offers a full
25
25    line of functional training tools and accessories to complement the Suspension Trainer™ to serve
26
26    all types of functional needs, from at-home essentials to complete gym installations. TRX also
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 11   launched in 2021 a purpose-built digital subscription-based platform - the TRX Training Club® -

 22   that offers a library of on-demand videos and daily live classes.

 33           Despite the development and success of the Debtors’ products over the years, the Debtors’

 44   revenue and cash flow from operations has been insufficient to support their current business

 55   operations as well as their continued growth. There have been many reasons for this including

 66   competition, macroeconomic conditions, purchases of inventory in anticipation of demand that did

 77   not occur in an unpredictable market, and higher than anticipated development costs associated with

 88   the Debtors’ digital training platform and increased marketing expenses, partially attributable to

 99   general increases in paid advertising. It became apparent in late 2021 that the Debtors would require
10
10    additional cash and investment to fund the Debtors’ long-term operations and growth and satisfy the
11
11    Debtors’ secured debt obligations owed to the Bank of more than $19 million.
12
12            Pre-petition, the Debtors hired Kroll and Integrity Square LLC to, among other things,
13
13    identify prospective investors and seek to obtain additional investments in the Debtors’ business to
14
14    further capitalize the Debtors and meet the Debtors’ operational and growth needs, or engage in a
15
15    sale transaction. The Debtors’ pre-petition efforts to raise capital to pay down debt or engage in a
16
16    strategic merger/acquisition with/by a buyer or investor did not result in a consummated transaction.
17
17            The Debtors’ current financial situation is precarious in that the Debtors estimate that unless
18
18    they can consummate a transaction or obtain additional financing, the Debtors will not have
19
19    sufficient liquidity to replenish inventory, impairing future customer sales and thereafter negatively
20
20    impacting the Debtors’ goodwill. The Debtors believe that if there was a shutdown of their business
21
21    with a resulting liquidation, it would be a disastrous result for creditors, including the secured
22
22    creditor.
23
23            Based on the foregoing, the Debtors determined in the exercise of their business judgment
24
24    that the best option available to the Debtors would be to conduct an expedited free and clear asset
25
25    sale in a chapter 11 bankruptcy proceeding and consummate that asset sale before the Debtors’
26
26    inventory falls below required operational levels and the Debtors run out of sufficient liquidity to
27
27    sustain operations. The Debtors believe that proceeding in this manner will afford them with the
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28


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 11   best opportunity to achieve the maximum price possible for their assets for the benefit of their

 22   creditors and other parties in interest. The Debtors are optimistic that this free and clear asset sale

 33   process will result in a successful sale transaction closing.

 44                                                     II.

 55                           EMPLOYMENT OF INVESTMENT BANKER

 66           The Debtors require the services of an investment banker to aid the Debtors with the sale

 77   transaction of substantially all of their assets. Engaging an investment banker will ensure that the

 88   highest price possible is paid for the Debtors’ assets.

 99           The Debtors decided to engage Kroll based on, among other things, Kroll’s extensive
10
10    experience in investment banking services to public and private companies for a broad range of
11
11    transactions including advice on mergers and acquisitions and guidance on strategic decisions.
12
12    True and correct copies of the professional résumés of Joshua Benn, Brian Cullen and Vijay R.
13
13    Sampath who will be the professionals at Kroll primarily responsible for working on the Debtors’
14
14    cases, are collectively attached to the Benn Declaration as Exhibit “2.” Based on Kroll’s
15
15    extensive experience in providing investment banking services in connection with mergers and
16
16    acquisitions and Kroll’s intimate knowledge of the Debtors’ business and sale plan based on
17
17    Kroll’s pre-petition relationship with the Debtors, the Debtors believe that Kroll is well qualified
18
18    to act as the Debtors’ exclusive investment banker in conjunction with a sale of the Debtors’
19
19    assets and that Kroll will allow the Debtors to obtain the highest and best price for their assets,
20
20    which will benefit all creditors.
21
21            A summary of the terms of the Retention Agreement with Kroll, a copy of which is
22
22    attached as Exhibit 1 to the Benn Declaration, are as follows:
23
23                   Kroll will provide, among others, the following services:
24
24                        o Support the Debtors in financial modelling, data analysis, board
25
25                            presentations, materials for investors, etc.
26
26                        o Take a lead position in interfacing with key capital structure constituents
27
27                            (board of directors, lender(s), creditors, existing equity holders, legal
28
28


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 11                       advisors, etc.), including attendance at board meetings, as requested

 22                       (virtually being acceptable), to present/ discuss Restructuring-related

 33                       matters.

 44                   o Prepare a list(s) of potential purchasers and/or investors and present it to

 55                       the Debtors for approval.

 66                   o Contact potential purchasers and/or investors who are approved by the

 77                       Debtors to solicit their interest in the Restructuring and to provide them

 88                       with the marketing materials under a confidential disclosure agreement

 99                       which has been approved by the Debtors.
10
10                    o Exert efforts to procure a potential purchaser or investor at the earliest,
11
11                        reasonably practical date who is ready, willing and able to consummate a
12
12                        Restructuring on terms satisfactory to the Debtors.
13
13                    o Participate in due diligence visits, meetings and consultations between the
14
14                        Debtors and seriously interested purchasers or investors and coordinate
15
15                        distribution of marketing materials to such parties.
16
16                    o Organize and execute a negotiating process with the objective of obtaining
17
17                        the best transaction valuation and terms.
18
18                    o Assist the Debtors with evaluating offers and indications of interest.
19
19                    o Assist the Debtors in negotiating agreements and definitive contracts.
20
20                    o Attend auctions and, to the extent required, provide affidavits in support,
21
21                        in any U.S. Bankruptcy Court with respect to any matters in connection
22
22                        with or arising out of the Retention Agreement.
23
23                       Kroll will identify buyers for the Debtors’ assets and seek to consummate
24
24         a sale of the Debtors’ assets by, among other things:
25
25                       In the event of a sale, Kroll’s fee (the “Transaction Fee”) shall equal to
26
26         $700,000 plus (a) 6.0% of the consideration greater than $25,000,000 but less than or
27
27         equal to $40,000,000, and (b) 12% of the consideration greater than $40,000,000.
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 11                        Notwithstanding what is set for in paragraph 3 of the Retention Agreement

 22          regarding the payment of the timing of the Transaction Fee, the Transaction Fee shall only

 33          be paid after the closing of the sale of the Debtors’ assets AND bankruptcy court approval

 44          of the Transaction Fee and the payment thereof

 55                        The Debtors shall reimburse Kroll, from time to time upon request, for its

 66          reasonable out-of pocket and incidental expenses as documented for travel, meals,

 77          lodging, and other miscellaneous expenses incurred during the term, and in furtherance of

 88          its engagement hereunder. The Debtors further agree to reimburse Kroll for certain

 99          allocated expenses (including but not limited to printing and production costs, industry
10
10           research, telephone conferencing lines, courier, messenger, and delivery charges). The
11
11           amount of such allocated expenses shall not exceed $10,000 without the Debtors’ prior
12
12           written approval.
13
13                         Notwithstanding what is set forth in paragraph 19 of the Retention
14
14           Agreement, Kroll and the Debtors agree that this Bankruptcy Court shall have the sole
15
15           and exclusive jurisdiction to deal with any dispute related to the Retention Agreement.
16
16           The fee and expense structure described above was negotiated at arms’ length, and the
17
17    Debtors believe that it constitutes fair and reasonable terms and conditions for the retention by
18
18    the Debtors of Kroll as its investment banker in accordance with sections 327(a) and 328(a) of
19
19    the Bankruptcy Code. The Debtors believe that the fees and expenses sought are comparable to
20
20    compensation generally charged by other firms of similar stature to Kroll for comparable
21
21    engagements, both in and out of bankruptcy. The Debtor also has been advised by Kroll that the
22
22    fees sought are consistent with Kroll’s normal and customary billing practices for a case of this
23
23    size and complexity, which require the level and scope of services outlined. The fee structure was
24
24    agreed upon by the parties in anticipation that a substantial commitment of professional time and
25
25    effort would be required of Kroll and its professionals, that such commitment may foreclose other
26
26    opportunities for Kroll, and that the actual time and commitment required of Kroll and its
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 11   professionals to perform the services hereunder may vary substantially from week to week or

 22   month to month.

 33          In April of 2022 Kroll was paid by the Debtors $25,000 in connection with services

 44   performed prior to the Petition Date related to a past marketing campaign. Except for the

 55   foregoing, Kroll has not been paid any money by the Debtors. Kroll does not have a claim on

 66   account of prepetition services. Kroll has not received any lien or other interest in property of the

 77   Debtors or of a third party to secure payment of Kroll’s fees or expenses.

 88          Kroll has not shared or agreed to share its compensation for representing the Debtors with

 99   any other person or entity, except among its members.
10
10           Kroll understands the provisions of 11 U.S.C. §§ 327 and 328, which require, among other
11
11    things, Court approval of the Debtors’ employment of Kroll as exclusive investment banker and
12
12    of all fees and reimbursement of expenses that Kroll will receive from the Debtors and the
13
13    Debtors’ estates.
14
14           Kroll will seek Court approval for the payment of any fees pursuant to 11 U.S.C. § 328.
15
15           Kroll understands the provisions of 11 U.S.C. §§ 327(a) and 328, which require, among
16
16    other things, Court approval of the Debtors’ employment of Kroll as investment banker and of the
17
17    payment of all fees and expenses that Kroll will receive from the Debtors and the Debtors’ estates.
18
18           Kroll is not an equity security holder or an insider of the Debtors.
19
19           The Debtors have engaged Kroll, LLC, an entity related to Kroll, as their financial advisor
20
20    in connection with their chapter 11 bankruptcy cases. The Debtors have filed a separate
21
21    employment application to employ Kroll, LLC as their financial advisors.
22
22           As set forth above, prior to the Petition Date, the Debtors previously employed Kroll as
23
23    their investment banker.
24
24           In prior years, Mr. Benn has worked with Brent Leffel, Chairman of the Debtors, on
25
25    mergers and acquisitions and reorganizations of other entities unrelated to the Debtors. To the best
26
26    of its knowledge, except as set forth herein, Kroll does not have any previous connection with any
27
27    insider of the Debtors or any insider of an insider of the Debtors.
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28


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 11          As set forth in the annexed Benn Declaration, to the best of Kroll’s knowledge, Kroll does

 22   not hold or represent any interest materially adverse to the Debtors or their estates, and Kroll is a

 33   “disinterested person” as that term is defined in Section 101(14) of the Bankruptcy Code. Also,

 44   to the best of Kroll’s knowledge, except as set forth herein, Kroll has no prior connection with the

 55   Debtors, any creditors of the Debtors or their estates, or any other party in interest in the Debtors’

 66   cases, or any of their respective attorneys or accountants, the United States Trustee or any person

 77   employed by the United States Trustee.

 88          Except as set forth herein, neither Kroll nor any member of Kroll is, nor was, within two

 99   years before the Petition Date, a director, officer or employee of the Debtors or of any investment
10
10    banker for any security of the Debtors.
11
11           The Debtors believe that their employment of Kroll upon the terms and conditions set forth
12
12    above is in the best interest of the Debtors’ estates.
13
13           WHEREFORE, the Debtors respectfully request that the Court approve the Debtors’
14
14    employment of Kroll as their investment banker upon the terms and conditions set forth herein.
15
15    Dated: June 17, 2022
16
16
      TRX HOLDCO, LLC
17
17    FITNESS ANYWHERE LLC, dba TRX and TRX TRAINING
18
18
19
19
      __________________________________________
20
20    Name: Michael Zuercher
      Title: General Counsel
21
21
22
22                                                   LEVENE, NEALE, BENDER, YOO
23                                                   & GOLUBCHIK L.L.P.
23
24
24                                                   By: /s/ Lindsey L. Smith
                                                            Ron Bender
25
25                                                          Krikor J. Meshefejian
                                                            Lindsey L. Smith
26
26                                                          Proposed Counsel for Chapter 11 Debtors
27                                                          and Debtors in Possession
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 11                               DECLARATION OF JOSHUA BENN

 22          I, Joshua Benn, hereby declare as follows:

 33          1.      I have personal knowledge of the facts set forth below and, if called to testify, would

 44   and could competently testify thereto. Capitalized terms not otherwise defined herein shall have

 55   the same meaning ascribed to such terms as in the Application to which this Declaration is attached

 66   (the “Application”).

 77          2.      I am a managing director at Kroll Securities, LLC (“Kroll”). I am the head of

 88   Kroll’s Americas Investment Banking business and lead the firm’s global consumer investment

 99   banking practice.
10
10           3.      TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and TRX
11
11    Training (“Product Co” and together with Hold Co and Product Co, collectively, the “Debtors”),
12
12    the debtors and debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases have
13
13    requested that Kroll serve as the Debtors’ exclusive investment banker and be employed pursuant
14
14    to 11 U.S.C. § 327 and 328, effective as of June 8, 2022, the date of the filing of the Debtors’
15
15    bankruptcy cases, upon the terms and conditions set forth in the engagement letter (the “Retention
16
16    Agreement”) between the Debtors and Kroll and as modified herein in the Application. A copy of
17
17    the Retention Agreement is attached hereto as Exhibit 1.
18
18           4.      The Debtors require the services of an investment banker to aid the Debtors with
19
19    the sale transaction of substantially all of their assets. I believe that engaging an investment banker
20
20    will ensure that the highest price possible is paid for the Debtors’ assets.
21
21           5.      Kroll has extensive experience in investment banking services to public and private
22
22    companies for a broad range of transactions including advice on mergers and acquisitions and
23
23    guidance on strategic decisions. True and correct copies my professional résumé and the
24
24    professional résumés of Brian Cullen and Vijay R. Sampath, who will be the professionals at Kroll
25
25    primarily responsible for working on the Debtors’ cases, are collectively attached hereto as Exhibit
26
26    “2.”
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 11           6.      Based on Kroll’s extensive experience in providing investment banking services in

 22   connection with mergers and acquisitions and Kroll’s intimate knowledge of the Debtors’ business

 33   and sale plan based on Kroll’s pre-petition relationship with the Debtors, I believe that Kroll is

 44   well qualified to act as the Debtors’ exclusive investment banker in conjunction with a sale of the

 55   Debtors’ assets and that Kroll will allow the Debtors to obtain the highest and best price for their

 66   assets, which will benefit all creditors.

 77           7.      Notwithstanding what is set for in paragraph 3 of the Retention Agreement

 88   regarding the payment of the timing of the Transaction Fee, the Transaction Fee shall only be paid

 99   after the closing of the sale of the Debtors’ assets AND bankruptcy court approval of the
10
10    Transaction Fee and the payment thereof
11
11            8.      Notwithstanding what is set forth in paragraph 19 of the Retention Agreement,
12
12    Kroll agrees that this Bankruptcy Court shall have the sole and exclusive jurisdiction to deal with
13
13    any dispute related to the Retention Agreement.
14
14            9.      The fee and expense structure described in the Application was negotiated at arms’
15
15    length, I believe that it constitutes fair and reasonable terms and conditions for the retention by the
16
16    Debtors of Kroll as its investment banker in accordance with sections 327(a) and 328(a) of the
17
17    Bankruptcy Code. I believe that the fees and expenses sought are comparable to compensation
18
18    generally charged by other firms of similar stature to Kroll for comparable engagements, both in
19
19    and out of bankruptcy. The fees sought are consistent with Kroll’s normal and customary billing
20
20    practices for a case of this size and complexity, which require the level and scope of services
21
21    outlined. The fee structure was agreed upon by the parties in anticipation that a substantial
22
22    commitment of professional time and effort would be required of Kroll and its professionals, that
23
23    such commitment may foreclose other opportunities for Kroll, and that the actual time and
24
24    commitment required of Kroll and its professionals to perform the services hereunder may vary
25
25    substantially from week to week or month to month.
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 11          10.     In April of 2022 Kroll was paid by the Debtors $25,000 in connection with services

 22   performed prior to the Petition Date related to a past marketing campaign. Except for the foregoing,

 33   Kroll has not been paid any money by the Debtors.

 44          11.     Kroll does not have a claim on account of prepetition services. Kroll has not

 55   received any lien or other interest in property of the Debtors or of a third party to secure payment

 66   of Kroll’s fees or expenses.

 77          12.     Kroll has not shared or agreed to share its compensation for representing the

 88   Debtors with any other person or entity, except among its members.

 99          13.     I understand the provisions of 11 U.S.C. §§ 327 and 328, which require, among
10
10    other things, Court approval of the Debtors’ employment of Kroll as exclusive investment banker
11
11    and of all fees and reimbursement of expenses that Kroll will receive from the Debtors and the
12
12    Debtors’ estates.
13
13           14.     Kroll will seek Court approval for the payment of any fees pursuant to 11 U.S.C. §
14
14    328.
15
15           15.     I understand the provisions of 11 U.S.C. §§ 327(a) and 328, which require, among
16
16    other things, Court approval of the Debtors’ employment of Kroll as investment banker and of the
17
17    payment of all fees and expenses that Kroll will receive from the Debtors and the Debtors’ estates.
18
18           16.     Kroll is not an equity security holder or an insider of the Debtors.
19
19           17.     I understand that the Debtors have engaged Kroll, LLC, an entity related to Kroll,
20
20    as their financial advisor in connection with their chapter 11 bankruptcy cases.
21
21           18.     In prior years, I have worked with Brent Leffel, Chairman of the Debtors, on
22
22    mergers and acquisitions and reorganizations of other entities unrelated to the Debtors. To the best
23
23    of my knowledge, except as set forth herein, Kroll does not have any previous connection with
24
24    any insider of the Debtors or any insider of an insider of the Debtors.
25
25           19.     Kroll and its related entities are large and diverse global financial services firms
26
26    that provides a wide variety of services across a number of fields. In connection with its proposed
27
27    retention by the Debtors, Kroll obtained from the Debtors and/or their counsel the names of
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 11                                    EXHIBIT “1”
 22
                              [RENTENTION AGREEMENT]
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 11                                    EXHIBIT “2”
 22
                              [PROFESSIONAL BIOGRAPHIES]
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 Joshua Benn
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                              Josh serves as the head of Kroll’s Americas Investment Banking business and leads the firm’s
                              global consumer investment banking practice. In addition, he serves on the firm’s corporate
                              finance leadership committee and engagement acceptance committee. Josh leverages more
                              than 25 years of investment banking experience.
                              Prior to joining the firm, Josh served as a founding partner of Stone Ridge Partners LLC, a
                              consumer sector focused M&A advisory boutique and was a senior member of the M&A and
                              consumer sector coverage group at Thomas Weisel Partners and Furman Selz, LLC. In
                              addition, Josh served as director of corporate development for KSL Recreation, a leading
                              hospitality management and development platform backed by KKR.

 Managing Director            Josh has managed merger, acquisition, divestiture, recapitalization, restructuring and
 Head of Americas             distressed M&A transactions for a variety of public and privately-owned clients. Some of his
 Investment Banking           notable clients include: Chargriller, Twin Peaks, Legal Seafood, Primanti Brothers, House of
                              Cheatham, Bowl America, Fazoli’s, Eureka Restaurants, Weiman Products, Hampshire Pet
                              Products, Rock Bottom Restaurants, Noodles & Company, Tourneau, Marlin Firearms,
Kroll Securities, LLC         Traeger Wood Pellet Grills, Osprey Packs, Dover Saddlery, Standard Furniture, HMI, Inc., and
                              Eastern Mountain Sports.
New York
                              Josh received a B.A. in political science and French from Dartmouth College. He serves on
+1 212 450 2840               several private company boards of directors and is a FINRA Series 7, 24, and 63 registered
Joshua.Benn@kroll.com         representative.




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 Brian Cullen
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                              Brian Cullen is a managing director in the Global Restructuring Advisory group and head of
                              the Domestic Restructuring Group. He has over 15 years of experience in financial
                              restructurings and distressed situations. Brian is based in the Santa Monica office.
                              Brian has been involved in a variety of restructurings and recapitalizations, including in and
                              out-of-court debtor and creditor-side restructurings, mergers and acquisitions, valuation
                              opinions and capital raising activities. Recent and past engagements include Allied Holdings,
                              American Safety Razor, Collins & Aikman, Controladora Comercial Mexicana (CCM), Cerplex
                              Group, Evergreen Solar, Key Plastics, Legacy Estates, Loral Space & Communications, Maui
                              Land & Pineapple, Mercury Interactive, Primus Telecommunications, ProtoStar, RCN
                              Corporation, Targus Group, Trump Casino Holdings, Tricom S.A., Vitro, S.A.B. de C.V.,
 Managing Director,           Westwood One and Wolverine Tube.
 Global Restructuring
 Advisory                     Prior to Duff & Phelps, Brian was a senior member with Duff & Phelps Capital Partners
                              where he led domestic and cross-border restructurings and recapitalizations for a variety of
                              clients including companies, equity sponsors and creditor groups. Prior to Duff & Phelps,
Kroll Securities, LLC         Brian worked in a principal capacity for a special situation investment fund and before this, in
                              the investment banking department at Credit Suisse First Boston. Brian began his career in
Los Angeles                   the high-yield group at BankAmerica Securities.
+1 424 249 1645               Brian received his B.A. in economics from the University of California at Los Angeles. Brian
brian.cullen@kroll.com        currently serves as a board member of Allied Holdings, Inc, the largest company in North
                              America specializing in the delivery of new and used vehicles. Brian holds the Financial
                              Industry Regulatory Authority (FINRA) Series 7 and 63 licenses and is a FINRA registered
                              representative.




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                                     VIJAY R. SAMPATH
        9 Cannon Hill Lane • Phoenixville, PA 19460 • (267) 218–0960 • vsampath82@gmail.com


OVERVIEW    Investment Banking professional with over 15 years of direct M&A, private capital markets and
            restructuring experience, totaling over $1 billion in transaction value

EXPERIENCE KROLL SECURITIES, LLC (FKA DUFF & PHELPS)                                                New York, NY
            MANAGING DIRECTOR, CONSUMER INVESTMENT BANKING, SEP. 2015 – PRESENT
               Transaction execution in the Consumer industry as well as financial sponsor coverage
               Selected transaction experience includes:
                    Sale of Primanti Bros. (L Catterton) to Garnett Station Partners (Jan. 2022)
                    Sale of Char-Griller to The Middleby Corporation (NASDAQ:MIDD) (Dec. 2021)
                    Sale of Bowl America to Bowlero Corporation (NYSE:BOWL) (Aug. 2021)
                    Equity Recapitalization of PPX Hospitality Group by Bain Capital Credit (Jul. 2021)
                    Sale of Au Bon Pain (JAB / Panera) to Ampex Brands (Jun. 2021)
                    Equity Recapitalization of Tijuana Flats (AUA Equity) by Existing Investors (Mar. 2021)
                    Sale of Legal Sea Foods to PPX Hospitality Group (Danu Partners) (Dec. 2020)
                    Restructruing of US Fitness (Onelife Fitness, Sport&Health, Crunch Fitness) with Kayne
                     Anderson Capital Advisors, Invesco and Pinebridge Investments (Sep. 2020)
                    Sale of Johnny Rockets (Sun Capital Partners) to FAT Brands (Sep. 2020)
                    Sale of DRH (largest Buffalo Wild Wings franchisee) to ICV Partners (Feb. 2020)
                    Sale of Hampshire Pet Products (L Catterton) to Red Collar Pet Foods (Arbor Investments)
                     (Feb. 2019)
                    Sale of The Oneida Group’s Commercial Foodservice Division to Crown Brands (Centre
                     Lane Partners) (Jan. 2019)
                    Equity Recapitalization of Turning Point Restaurants by NewSpring Capital (Jan. 2019)
                    Sale of Rosa Mexicano (Goode Partners) to TriSpan (Mar. 2018)
                    Sale of The Ruby Slipper Café to Bregal Partners (Jan. 2018)
                    Sale of Standard Furniture (Magnolia Home) to Aterian Investment Partners (Aug. 2017)
                    Ainsworth Pet Nutrition’s (L Catterton) Acquisition of Triple-T Foods (Jun. 2018)
                    Sale of UNO Pizzeria & Grill (Twin Haven Capital) to Newport Global Advisors (May 2017)
                    Sale of Gordmans Stores (Sun Capital Partners) to Stage Stores International (Apr. 2017)
                    Sale of Luxury Brand Holdings (Freeman Spogli & Co.) to D.R. Capital (Jul. 2016)
                    Debt Recapitalization of Dickey’s BBQ Pit’s by Wells Fargo (May 2016)

            SCOTT-MACON SECURITIES, LLC                                                             New York, NY
            VICE PRESIDENT, INVESTMENT BANKING, MAY 2007 – SEPTEMBER 2015
               Transaction execution across the Industrials and Transportation / Logistics sectors
               Selected transaction experience includes:
                    Sale of Envincio to Central Garden & Pet Company (NasdaqGS:CENT) (Apr. 2014)
                    Sale of United Technologies’(NYSE:UTX) Industrial Explosion Protection business to
                     Sentinel Capital Partners (Jul. 2013)
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                      Sale of United Technologies’ (Carrier Corp.) Refrigerated Container Services business to
                       ConGlobal Industries (Dec. 2012)
                      Sale of United Technologies’ (Carrier Corp.) North American Bus A/C Business to Mobile
                       Climate Control (Ratos AB) (Apr. 2011)
                      Sale of United Technologies’ (Carrier Corp.) Bus A/C Business in Europe, India and Mexico
                       to J Eberspacher GmbH & Co. KG (Mar. 2010)


EDUCATION   THE UNIVERSITY OF MICHIGAN (Grad. 2005)                                 Ann Arbor, MI
              College of Literature, Science & Arts – B.S. (Economics / Computer Science)

SKILLS / OTHER
                  FINRA Series 7, 63 and 79 licensed
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034


A true and correct copy of the foregoing document entitled (specify): APPLICATION OF CHAPTER 11 DEBTORS AND
DEBTORS IN POSSESSION TO EMPLOY KROLL, SECURITIES, LLC AS INVESTMENT BANKER PURSUANT TO 11
U.S.C. § 327(a); DECLARATION OF JOSHUA BENN IN SUPPORT THEREOF will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 17, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Ali M Mojdehi amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 17, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

None.
                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 17, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


None.
                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 17, 2022                  Damon Woo                                                       /s/ Damon Woo
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
